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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                    )              CASE NO. 1:06CR00463-019
                                             )
       Plaintiff,                            )              JUDGE: JAMES S. GWIN
                                             )
vs.                                          )              ORDER
                                             )
ANTHONY JACKSON,                             )
                                             )
       Defendant.                            )



       This matter was heard on June 1, 2016 upon the request of the United States Pretrial and

Probation Office for a finding that defendant violated the conditions of supervised release. The

defendant was present and represented by Attorney Charles E. Fleming.

       The violation report was referred to Magistrate Judge George J. Limbert who issued a

Report and Recommendation on May 12, 2016 [Doc. 681]. No objections having been filed the

Court adopted the Magistrate Judge's Report and Recommendation and found that the following

term of supervision had been violated:

               1) new law violation incurred on September 3, 2015.

       The defendant is set for sentencing before the Lorain County Common Pleas Court on

July 8, 2016. The Court, upon consideration of the statements of counsel and the defendant’s

pending sentencing hearing, continued the final hearing on revocation of supervised release until

July 13, 2016 at 11:30 a.m.
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       The Court continued the defendant’s supervised release with the following additional

condition: the defendant shall obtain/maintain employment prior to the hearing scheduled for

July 13, 2016.

       IT IS SO ORDERED.



Dated: June 1, 2016                                s/ James S. Gwin
                                                   JAMES S. GWIN
                                                   UNITED STATES DISTRICT JUDGE
